     Case 4:21-mj-00091-KPJ Document 7 Filed 02/03/21 Page 1 of 3 PageID #: 19




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
V.                                                §     Criminal No. 4:21-MJ-91
                                                  §
JASON LEE HYLAND                                  §



            UN-OBJECTED TO MOTION TO MODIFY BOND CONDITIONS

TO THE HONORABLE KIMBERLY C. PRIEST JOHNSON,

               COMES NOW the defendant, Jason Hyland, by and through his attorney of record,

Reed Prospere, and files this unobjected to motion to modify bond release conditions and for cause

would show:

                                                  I.

        The Government prosecutor in charge of this case, Kimberly Paschall, with the U.S.

Attorney’s office in Washington, D.C., has been consulted and does not object to the requested

modification of this condition.

                                                 II.

        On February 2, 2021, this Defendant was released with one of his release conditions being

“that he have no contact or communication with basically anyone, witness or person associated with

this charge and this included a person also charged in this episode, Ms. Katherine Schwab.

                                                 III.

        Mr. Hyland respectfully requests that his conditions of release allow him to be in contact and

communicate with Ms. Schwab in as much as they were living with each other at the time of the
  Case 4:21-mj-00091-KPJ Document 7 Filed 02/03/21 Page 2 of 3 PageID #: 20




bond hearing and the government’s case against each of them would not be negatively impacted by

modifying this condition as requested.

       WHEREFORE, PREMISES CONSIDERED, the Defendant requests that this unobjected to
modification be granted.



                                                   Respectfully submitted,
                                                   PROSPERE & RUSSELL
                                                   8111 Preston Road
                                                   Suite 550
                                                   Dallas, Texas 75225
                                                   214/750-8555
                                                   214/750-8001 - Telecopier



                                                   By: /s/ Reed Prospere
                                                           Reed W. Prospere
                                                           State Bar Card No. 16351800

                                                   ATTORNEYS FOR DEFENDANT




___________________________________________________________________________________________
Motion to Modify Bond Conditions -
  Case 4:21-mj-00091-KPJ Document 7 Filed 02/03/21 Page 3 of 3 PageID #: 21




                            CERTIFICATE OF CONFERENCE

       This is to certify that the undersigned attorney has communicated via e-mail
(kimberly.paschall@usdoj.gov) with Ms. Kimberly Paschall, Assistant United States Attorney,
regarding the filing of this Motion, of which he:

              agrees
    XX        does not object
              could not be reached
              has no opinion


                                                   /s/ Reed Prospere
                                                   Reed W. Prospere




                               CERTIFICATE OF SERVICE


       I hereby certify that true and correct copy of the foregoing has been e-filed to Kimberly
Paschall, (kimberly.paschall@usdoj.gov), Assistant United States Attorney, on the 3rd day of
February, 2021.


                                                     /s/  Reed Prospere
                                                   Reed W. Prospere




___________________________________________________________________________________________
Motion to Modify Bond Conditions -
